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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


 CITY OF CHICAGO, a municipal corporation,

                       Plaintiff,

                v.                                   Case No. 1:19-cv-04547

 JUSSIE SMOLLETT, an individual,

                       Defendant.


             THIRD UNOPPOSED MOTION TO EXTEND TIME FOR
            DEFENDANT TO RESPOND TO PLAINTIFF’S COMPLAINT
       NOW COMES the Defendant Jussie Smollett, by and through undersigned counsel,

to move this Court under Federal Rule of Civil Procedure 6(b) for an order to extend the

time that Mr. Smollet may have to answer to Plaintiff City of Chicago’s Complaint. In

support of this motion, the Defendant states as follows:

       1.      Plaintiff commenced this action by filing a Complaint in the Circuit Court

of Cook County, Illinois, Law Division, on April 11, 2019, styled City of Chicago v.

Smollett, No. 2019L003898 (the “State Court Action”).

       2.      On July 3, 2019, Mr. Smollett removed the State Court Action to this Court.

ECF No. 1.
       3.      On July 10, 2019, Mr. Smollett filed his first unopposed motion to extend

time to answer or otherwise plead. ECF No. 10.

       4.      On July 12, 2019, the Court granted Mr. Smollett’s first motion to extend

time. ECF No. 11.

       5.      On August 5, 2019, Mr. Smollett moved to dismiss under Federal Rule of

Civil Procedure 12(b)(6). ECF No. 14.

       6.      On October 22, 2019, this Court issued its Memorandum Opinion and Order
denying Mr. Smollett’s motion to dismiss. ECF No. 25.


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       7.      Under Rule 12(a)(4)(A) of the Federal Rule of Civil Procedure, the Court’s

denial of Mr. Smollett’s motion to dismiss under Rule 12(b)(6) renders the responsive

pleading due within 14 days after notice of the Court’s action. Fed. R. Civ. P. 12(a)(4)(A).

       8.      Fourteen days from the Court’s denial of the motion to dismiss was

November 5, 2019.

       9.      On November 4, 2019, Mr. Smollett’s counsel filed a second unopposed

motion to extend time to respond to Plaintiff’s complaint. ECF No. 26.

       10.     On November 6, 2019, the Court granted the second unopposed motion to

extend time. ECF No. 28.

       11.     The Federal Rules of Civil Procedure allow the Court to extend the time for

the Mr. Smollett to answer for good cause if a request is made before the original time or

its extension expires. See Fed. R. Civ. P. 6(b)(1)(A).

       12.     Good cause exists for this third and final extension because the parties have

agreed to allow the Mr. Smollett a one-week extension, until November 19, 2019, to answer

the complaint. The extension is not being made for the purpose of delay, but rather the need

for time to prepare the responsive pleading due to other matters that have unexpectedly

required an inordinate amount of time and resources for Mr. Smollett’s counsel during the

past week, including, but not limited to, issues related to an arbitration proceeding and an

administrative hearing. In addition, the court-ordered time for filing the answer has not yet

expired.

       13.     Counsel for Plaintiff does not oppose this motion.

       THEREFORE, the Defendant Jussie Smollett respectfully requests that the Court

enter an order for a third and final extension of time for Mr. Smollett to file an answer up

to and including November 19, 2019.




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Date: November 12, 2019              Respectfully submitted,

                                        /s/ David E. Hutchinson
                                        William J. Quinlan
                                        David E. Hutchinson
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                            CERTIFICATE OF SERVICE

I hereby certify that I electronically transmitted the foregoing document to the Clerk’s
Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing
to the CM/ECF registrants in this case.

                                                       /s/ Nicole Griesbach




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